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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

                                                    )
 CISCO SYSTEMS, INC. and ACACIA
                                                    )
 COMMUNICATIONS, INC.,
                                                    )
                Plaintiffs                          )
                                                    )   C.A. No. _________________
         v.                                         )
                                                    )   DEMAND FOR JURY TRIAL
 RAMOT AT TEL AVIV UNIVERSITY                       )
 LTD.,                                              )
                                                    )
                Defendant.                          )

                     COMPLAINT FOR DECLARATORY JUDGMENT

       Plaintiffs Cisco Systems, Inc. (“Cisco”) and Acacia Communications, Inc. (“Acacia”)

bring this Complaint against defendant Ramot at Tel Aviv University Ltd. (“Ramot”) seeking

declaratory relief under 28 U.S.C. §§ 2201 and 2202 with respect to U.S. Patent No. 11,342,998

(the ’998 patent”). In support of this Complaint for Declaratory Judgment, Plaintiffs Cisco and

Acacia allege as follows:

                                  NATURE OF THE ACTION

       1.      This is an action brought under the Declaratory Judgment Act seeking a declaration

that Cisco and its wholly-owned subsidiary Acacia do not infringe any claim of the ’998 patent,

which defendant Ramot purports to own by assignment. As set forth in greater detail below (see,

e.g., infra at ¶¶ 8-9), this lawsuit follows a declaratory judgment action that Cisco and Acacia filed

against Ramot in this District on September 28, 2021, seeking a declaration that overlapping and

similar Cisco and Acacia accused products do not infringe any claim of the immediate parent of

the ’998 patent, U.S. Patent 11,133,872. See Cisco Systems Inc. & Acacia Comm’ns, Inc. v. Ramot

at Tel Aviv Univ. Ltd., C.A. No. 21-1365 (D. Del.) (hereinafter, the “September 2021 Delaware
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Declaratory Judgment Action”). This prior declaratory judgment action remains pending and

active in this District.

        2.      The ’998 patent is titled “Linearized Optical Digital-to-Analog Modulator” and

issued on May 24, 2022. The patent is directed to methods and systems for converting digital data

into modulated optical signals. Because a copy of the ’998 patent is not yet available from the

United States Patent and Trademark Office (“USPTO”) in downloadable form, attached as Exhibit

A is a compilation of the relevant excerpts from the prosecution file history of the application from

which the ’998 patent matured (U.S. Patent Application 17/481,904), i.e., the Issue Notification

(identifying the ’998 patent number); the Issue Classification (identifying the final, as-issued claim

numbering for the allowed application claims); a listing of the allowed claims; and a copy of the

specification as originally filed with the USPTO in connection with U.S. Patent Application

17/481,904.

        3.      The ’998 patent is the latest patent to issue in a family of patents that have been the

subject of an ongoing dispute between Ramot, Cisco, and Acacia dating back to 2014, when Ramot

first sued Cisco on two ancestor patents of the ’998 patent in the Eastern District of Texas. These

two patents—U.S. Patent No. 8,044,835 and U.S. Patent No. 8,797,198—were the first to issue in

the “Linearized Optical Digital-to-Analog Modulator” family. Ramot voluntarily dismissed that

suit in February 2015, approximately three months after filing it, but continued to pursue

prosecution of child patents in the family. Since the filing of its original lawsuit, Ramot has been

obtaining patents tracing back to the two originally-asserted patents and then suing Cisco, and

more recently also Acacia, on each newly-issued patent in the “Linearized Optical Digital-to-

Analog Modulator” family.




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       4.      In June 2019, Ramot sued Cisco in the Eastern District of Texas on three patents

from the “Linearized Optical Digital-to-Analog Modulator” family it had obtained since

dismissing its 2014 action against Cisco—U.S. Patent No. 10,270,535 (the “’535 patent”); U.S.

Patent No. 10,033,465 (the “’465 patent”); and U.S. Patent No. 10,461,866 (the “’866 patent”).

See Ramot at Tel Aviv University Ltd. v. Cisco Systems, Inc., C.A. No. 2:19-cv-255-JRG (E.D.

Tex.) (hereinafter, the “2019 Texas Action”). That lawsuit targeted optical transceiver modules

and components thereof. Importantly, Acacia was one of Cisco’s suppliers of optical transceiver

modules accused by Ramot under both direct and contributory infringement theories. Shortly after

that lawsuit was filed, Cisco announced it was acquiring Acacia. The Eastern District of Texas

stayed that case in January 2021 because of the pendency of ex parte reexaminations against the

asserted patents.

       5.      Then, in February 2021, Ramot brought its dispute against Acacia and Cisco to this

District. After the Eastern District of Texas stayed the 2019 case, Ramot asserted two of the patents

from the 2019 Texas Action—including the ’535 patent, an ancestor of the ’998 patent—against

Acacia in this District. See Ramot at Tel Aviv University Ltd. v. Acacia Comm’ns, Inc., C.A. No.

21-295 (D. Del.) (hereinafter, the “February 2021 Delaware Action”). Notably, Ramot filed its

lawsuit in Delaware only three days before Cisco completed its acquisition of Acacia. Since March

1, 2021, Acacia has been a wholly-owned subsidiary of Cisco.

       6.      Also notably, as set forth below, Ramot has represented to this Court that the 2019

suit in Texas concerns only activities of Cisco and Acacia with respect to accused products before

the March 1, 2021 acquisition. See February 2021 Delaware Action, C.A. No. 21-295, D.I. 14 at 2

(Plaintiff Ramot at Tel Aviv University Ltd.’s Opposition to Defendant’s Motion to Stay Pending

Ex Parte Reexamination). On the other hand, Ramot told this Court that the suit Ramot filed in




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February 2021 in this District concerns “infringement across Acacia’s entire product line . . . all

of its infringing sales.” Id. Thus, the February 2021 Delaware Action is broader in scope with

respect to Acacia’s accused products than the 2019 Texas Action.

       7.      Subsequently, U.S. Patent 11,133,872 (the “’872 patent”) issued to Ramot on

September 28, 2021. The ’872 patent is a member of Ramot’s “Linearized Optical Digital-to-

Analog Modulator” patent family and is, specifically, a continuation of Ramot’s ’866 patent

previously asserted against Cisco in 2019 Texas Action and against Acacia in the February 2021

Delaware Action.

       8.      At the time the ’872 patent issued, both Cisco and Acacia reasonably believed that

Ramot would accuse numerous of Cisco’s and Acacia’s optical transceiver modules, components

thereof, and networking equipment in which such modules are incorporated, of infringing one or

more claims of the ’872 patent. Consequently, on September 28, 2021, Cisco and Acacia filed in

this District a Complaint for Declaratory Judgment against Ramot. See Cisco Systems Inc. &

Acacia Comm’ns, Inc. v. Ramot at Tel Aviv University Ltd., C.A. No. 21-1365 (D. Del.), D.I. 1.

As set forth in that previous declaratory judgment complaint, Ramot’s history of asserting patents

in the “Linearized Optical Digital-to-Analog Modulator” family against Cisco and Acacia

supported the reasonableness of their belief that numerous of Cisco’s and Acacia’s products would

be accused by Ramot of infringing the ’872 patent. See, e.g., id. at ¶ 7.

       9.      Cisco’s and Acacia’s belief proved correct. On February 7, 2022, Ramot answered

Cisco’s and Acacia’s declaratory judgment complaint, and counterclaimed for purported

infringement of the ’872 patent. See September 2021 Delaware Declaratory Judgment Action,

C.A. No. 21-1365, D.I. 8 (Answer and Counterclaims for Patent Infringement) at ¶¶ 77-163. In

its counterclaim, “Ramot alleges that Cisco and Acacia directly and indirectly infringe” the ’872




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patent “by making, using, offering for sale, selling and importing optical networking transceiver

modules and line cards, and components thereof, providing advanced electro-optical modulation

techniques—including, without limitation, certain of Cisco’s and Acacia’s various optical

networking modules, line cards, and associated circuitry and software.” Id. at ¶ 79.

       10.     In its counterclaim in the September 2021 Delaware Declaratory Judgment Action,

Ramot references general categories of “Acacia Accused Products” (id. at ¶ 114), “Cisco Accused

Products” (id. at ¶ 129), and the “’872 Accused Products” (id. at ¶ 135). As further detailed below,

according to Ramot, the “Acacia Accused Products” include “optical transceiver modules” and

components thereof that “support advanced mapping and modulation techniques according to the

[’872 Patent]—including without limitation digital mapping to provide pre-equalization, pre-

distortion, shaping, and non-linearity compensation.” Id. at ¶ 114. The “Cisco Accused Products”

include “transceiver modules and associated DSP [digital signal processing] functionality” that

“support advanced mapping and modulation techniques”; “numerous line cards and systems with

embedded coherent transceivers”; and “numerous line cards and systems with embedded DSP

circuitry and slots for pluggable optics.” Id. at ¶¶ 129, 130-131. The “’872 Accused Products”

include the “identified Cisco Accused Products and Acacia Accused Products that use digital

mapping of data for, inter alia, equalization, pre-distortion, shaping, or compensation of the

transmitted signal.” Id. at ¶ 135.

       11.     Today, Ramot obtained from the USPTO the ’998 patent at issue in this current

Complaint for Declaratory Judgment. As noted, the ’998 patent is yet another member of the

“Linearized Optical Digital-to-Analog Modulator” patent family and, specifically, is a continuation

of the ’872 patent that is the subject of Cisco’s and Acacia’s previous declaratory judgment claim,




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as well as Ramot’s counterclaim, in the September 2021 Delaware Declaratory Judgment Action.

That claim and counterclaim currently remain pending and active in this District.

       12.     Now that the ’998 patent has issued, Cisco and Acacia reasonably believe that

Ramot will further accuse of infringing the newly-issued ’998 patent the same and/or similar sets

of products that it has previously accused of infringing related patents in the same family in

Ramot’s prior litigations against Cisco and Acacia. The products at issue include Cisco’s and

Acacia’s optical transceiver modules, components thereof, and networking equipment in which

such modules are incorporated (e.g., line cards). As set forth below, Ramot’s history of asserting

patents in the “Linearized Optical Digital-to-Analog Modulator” family against Cisco and

Acacia—including Ramot’s recent counterclaim of infringement of the parent ’872 patent, a

counterclaim that Ramot filed less than three months ago in this District—supports the

reasonableness of this belief. Accordingly, Cisco and Acacia bring this lawsuit seeking to remove

the cloud of infringement allegations placed over their optical-transceiver-module-related products

by the ’998 patent.

                                         THE PARTIES

       13.     Plaintiff Cisco Systems, Inc. is a Delaware corporation with its principal place of

business at 170 West Tasman Drive, San Jose, California 95134.

       14.     Plaintiff Acacia Communications, Inc. is a wholly-owned subsidiary of Cisco. Acacia

is incorporated in Delaware with its principal place of business at Three Mill and Main Place, Suite

400, Maynard, Massachusetts 01754. Cisco completed its acquisition of Acacia on March 1, 2021.

       15.     On information and belief, defendant Ramot at Tel Aviv University, Ltd. is a

limited liability company organized under the laws of Israel with its principal place of business at

Tel Aviv University, Senate Building at Gate no. 4, George Wise Street, Tel Aviv, Israel.




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       16.      On information and belief, Ramot is the owner by assignment of the ’998 patent,

as well as at least four related United States patents—U.S. Patent No. 10,033,465 (the “’465

patent”), U.S. Patent No. 10,270,535 (the “’535 patent’), U.S. Patent No. 10,461,866 (the “’866

patent”), and U.S. Patent No. 11,133,872 (the “’872 patent”). The ’465 patent is attached as

Exhibit B hereto; the ’535 patent as Exhibit C; the ’866 patent as Exhibit D; and the ’872 patent

as Exhibit E.

                                       RAMOT PATENTS

       17.      The five patents referenced above—the ’998 patent, the ’465 patent, the ’535

patent, the ’866 patent, and the ’872 patent—all share a common specification and title

(“Linearized Optical Digital-to-Analog Modulator”); all name the same three inventors (Yossef

Ehrlichman, Ofer Amrani, and Shlomo Ruschin); and all purport to claim priority to the same U.S.

provisional application (No. 60/943,559, filed June 13, 2007).

       18.      As set forth further in the Claim for Relief below, each of the five independent

claims of the ’998 patent recites limitations requiring “digital-to-digital mapping.” These digital-

to-digital-mapping limitations are key elements both in the claims of the ’998 patent and in the

claims of the ’465 patent, the ’535 patent, and the ’866 patent that Ramot previously asserted

against Cisco and/or Acacia, and in the claims of the ’872 patent that Ramot is currently asserting

against Cisco and Acacia in the pending September 2021 Delaware Declaratory Judgment Action.

       19.      As one example, one limitation of previously-asserted claim 1 of the ’535 patent

requires “converting the N bits of digital data to M drive voltage values, where M>N and N>1.”

Previously-asserted claim 1 of the ’465 patent includes a similar limitation: “inputting into an

optical modulator N bits of digital data in parallel, N being larger than one; [and] mapping a set of

N input values corresponding to said N bits of digital data to a vector of M voltage values where

M is equal to or larger than N.” Previously-asserted claim 7 of the ’866 Patent likewise includes


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a digital-to-digital-mapping limitation: “using the digital to digital converter for mapping a set of

N input values corresponding to the N bits of digital data word to a digital drive vector

corresponding to M drive voltage values where M is larger than N.”

        20.     Similar to the claims of the three previously-asserted patents discussed in the

paragraph above, claims 1 and 15 of the ’872 patent at issue in the pending September 2021

Delaware Declaratory Judgment Action includes a similar “digital-to-digital mapping” limitation.

For instance, claims 1 and 15 of the ’872 patent recite “converting, based on digital-to-digital

mapping, the plurality N digital input data bits to M digital output data bits associated with M drive

voltage values,” inter alia, “wherein M>N and N>1” and “wherein the digital-to-digital mapping

comprises, for each unique plurality of N digital input data bits, a mapping to a corresponding M

digital output data bits.”

        21.     Ramot asserted claims 1 and 15 of the ’872 patent in its counterclaim against

“Acacia Accused Products” and “Cisco Accused Products” in the September 2021 Delaware

Declaratory Judgment Action. See, C.A. No. 21-1365 (D. Del.), D.I. 8 (Answer and Counterclaims

for Patent Infringement) at ¶ 135. Notably, Ramot’s counterclaim focused on the “digital-to-digital

mapping” as a central feature of the ’872 patent: “In one aspect of the invention, the disclosed and

claimed features enable using a digital-to-digital mapping to provide digital pre-correction for

irregularities in linearity and other signal characteristics of the optical signal output response from

the modulator.” Id. at ¶ 96.

        22.     Ramot’s counterclaim also explicitly referenced the “mapping” functionality in

discussing the operation of the accused Acacia and Cisco products. See, e.g., id. at ¶ 104 (“The

digital mapping technologies of the [’872 patent], as practiced by Acacia’s DSP ASICs, are an

enabling technology for these 400Gbps coherent transmission applications.”); ¶ 110 (“Acacia’s




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coherent optical transceiver modules (and DSP ASIC components thereof) achieve optical

networking transport speeds of 100 Gbps and above by employing the digital signal mapping

techniques of the [’872 patent].”); ¶ 111 (“These digital shaping adjustments utilize the claimed

digital mapping of the [’872 patent].”); ¶ 114 (“As described above, and detailed with respect to

the patent claims below, Acacia’s infringing coherent optical transceiver modules (and DSP ASIC

and Silicon Photonic IC components thereof)…support advanced mapping and modulation

techniques according to the Asserted [’872] Patent—including without limitation digital mapping

to provide digital pre-equalization, pre-distortion, shaping, and non-linearity compensation.”);

¶ 123 (“Cisco’s infringing products achieve optical networking transport speeds of 100 Gbs and

above by employing the advanced modulation techniques and digital mapping of the Asserted

[’872] Patent . . . .”); ¶ 125 (“The advanced digital mapping techniques of the Asserted [’872]

Patent are key features of products crucial to Cisco’s optical networking platforms.”); ¶ 127 (“As

described above, the coherent pluggable optics that Cisco paid $4.5 billion to acquire from Acacia

use the digital mapping techniques of the Asserted [’872] Patent to provide digital pre-

equalization, pre-distortion, shaping, and non-linearity compression.”); ¶ 135 (“the above

identified Cisco Accused Products and Acacia Accused Products…use digital mapping of data for,

inter alia, equalization, pre-distortion, shaping, or compensation of the transmitted signal . . . .”);

¶ 147 (“As described above, Acacia’s Accused Products include a converter for converting, based

on a digital-to-digital mapping, the N digital input data bits to M digital output data bits, that are

associated with M drive voltage values, where M>N and N>1.”); ¶ 151 (“The ’872 Accused

Products include a digital-to-digital mapping that outputs a pattern that alters the linearity of an

optical response of the modulator.”).




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       23.     Like the claims of the related patents previously asserted by Ramot against Cisco

and Acacia as summarized above, all of the independent claims of the ’998 patent at issue in this

Complaint for Declaratory Judgment include similar “digital-to-digital mapping” limitations. For

example:

               a.      Independent claim 1 recites an “optical modulation system,” inter alia,

“wherein a digital-to-digital mapping maps the plurality of N digital input data bits to a set of M

digital output data bits associated with a plurality of voltage values” and “wherein the digital-to-

digital mapping comprises, for each digital input value included in a set of possible digital input

values for the plurality of N digital input data bits, a set of corresponding digital output values

from a set of possible digital output values”;

               b.      Independent claim 16 recites an “optical modulation system,” inter alia,

“wherein a digital-to-digital mapping maps the plurality of N digital input data bits to M digital

output data bits associated with a plurality of voltage values” and “wherein the digital-to-digital

mapping comprises, for each digital input value included in a set of possible digital input values

for the plurality of N digital input data bits, a set of corresponding digital output values from a set

of possible digital output values”;

               c.      Independent claim 32 recites an “optical modulation system,” inter alia,

“wherein the N bits of the N bit digital input data word are mapped to a set of M output bits

corresponding to a set of voltage values” and “wherein the input digital data word is one from a

set of 2N input data words, the M output bits are from a set of 2M M output bits, wherein each M

output bits in the set of 2M M output bits corresponds to a different set of voltage values”;

               d.      Independent claim 45 recites an “optical modulation system,” inter alia,

“wherein the N bits of the N bit digital input data word are mapped to a set of M output bits




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corresponding to a set of voltage values” and “wherein the input digital data word is one from a

set of 2N input data words, the set of M output bits are each from a set of 2M M output bits, wherein

each M output bits in the set of 2M M output bits corresponds to a different set of voltage values”;

and

                e.     Independent claim 58 recites an “optical modulation system,” inter alia,

“wherein a digital-to-digital mapping maps the plurality of N digital input data bits to M digital

output data bits” and “wherein the digital-to-digital mapping comprises, for each digital input

value included in a set of possible digital input values for the plurality of N digital input data bits,

a set of M corresponding digital output values from a set of possible digital output values.”

      RAMOT’S RECENT LITIGATION HISTORY AGAINST CISCO AND ACACIA

       24.      On July 9, 2019, Cisco publicly announced its intent to acquire one of its then-

existing suppliers, Acacia. Acacia designs and manufactures high-speed, optical interconnect

technologies.    See Cisco News Release, July 9, 2019, “Cisco Intends to Acquire Acacia

Communications,”             available         at         https://newsroom.cisco.com/press-release-

content?articleId=2000889 (last visited May 22, 2022).

       25.      Less than one month before that announcement, on June 12, 2019, Ramot sued

Cisco in the Eastern District of Texas. See Ramot at Tel Aviv University Ltd. v. Cisco Systems,

Inc., C.A. No. 2:19-cv-225-JRG (E.D. Tex.) (the “2019 Texas Action”).

       26.      In the 2019 Texas Action, Ramot originally asserted two related ancestor patents to

the ’998 patent at issue here, the ’535 patent and the ’465 patent, both belonging to the same

“Linearized Optical Digital-to-Analog Modulator” patent family.

       27.      While the 2019 Texas Action was pending, the ’866 patent issued, on October 29,

2019. The ’866 patent is a child of the ’535 patent, the immediate parent of the ’872 patent, and

the grandparent of the ’998 patent at issue in the current Complaint for Declaratory Judgment.


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Less than two months later, on December 12, 2019, Ramot filed an amended complaint in the 2019

Texas Action adding a count charging Cisco with infringement of the ’866 patent. See C.A. No.

2:19-cv-225-JRG (E.D. Tex.), D.I. 48 (First Amended Complaint) at ¶¶ 60-72.

       28.     On January 13, 2021, the Eastern District of Texas stayed Ramot’s 2019 Texas

Action, pending ex parte reexamination of the ’535 patent, the ’465 patent, and the ’866 patent.

See C.A. No. 2:19-cv-225 (E.D. Tex.), D.I. 235 (Order on Motion to Stay). The court was

“persuaded that the benefits of a stay outweigh the costs of postponing resolution of the litigation

in this particular case.” Id. at 4. In particular, the court explained that the claims of the patents

would “almost surely . . . be modified” during ex parte reexamination—and even “may be dropped

completely”:

               All asserted claims of all Asserted Patents have been rejected in
               preliminary Office Actions in the ex parte reexams. (Dkt. Nos. 171,
               180, 209.) When claims are rejected in an ex parte reexamination
               proceeding, the patent owner can narrow, cancel, or submit new
               claims. See M.P.E.P. § 2258. Thus, the asserted claims that have
               been rejected in the reexamination proceedings are almost surely
               to be modified in some material way in response to their rejection,
               and they may be dropped completely. They will not likely stay as
               they were when this suit was filed. If the case were to proceed to
               trial on the current claims, there is a serious risk of wasted resources
               as to the parties and the Court.

Id. at 4 (emphasis added).

       29.     The following month, on February 26, 2021, Ramot filed another patent-

infringement action—this time in Delaware—asserting two of the patents previously asserted in

the Eastern District of Texas, the ’535 patent and the ’465 patent. See Ramot at Tel Aviv

University, Ltd. v. Acacia Comm’ns, Inc., C.A. No. 21-295 (D. Del.) (the “February 2021 Delaware

Action”).

       30.     In the February 2021 Delaware Action, Ramot named Acacia as the sole defendant.

Three days after the lawsuit was filed, Cisco completed its acquisition of Acacia. See, e.g., Cisco


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Press Release, March 1, 2021, “Cisco Completes Acquisition of Acacia Communications, Inc.,”

available                      at                       https://newsroom.cisco.com/press-release-

content?type=webcontent&articleId=2144825 (last accessed May 22, 2022).                 Through this

corporate transaction, Acacia became a wholly-owned subsidiary of Cisco.

       31.     In a subsequent pleading in the February 2021 Delaware Action, Ramot justified

its selection of Delaware for its infringement dispute by characterizing its 2019 Texas Action as

being limited in scope and concerning only “pre-acquisition sales of certain products to Cisco.”

C.A. No. 21-295 (D. Del.), D.I. 14 at 2 (Plaintiff Ramot at Tel Aviv University Ltd.’s Opposition

to Defendant’s Motion to Stay Pending Ex Parte Reexamination). The lawsuit in Delaware, on

the other hand, concerned “infringement across Acacia’s entire product line.” Id.:

               Ramot brought this present case to address identified infringement
               across Acacia’s entire product line—and accused all of its infringing
               sales, not just the pre-acquisition sales of certain products to Cisco
               that were at issue in the Texas case. See Complaint, D.I. 1 at ¶¶ 21-
               39. Accordingly, a substantial amount of new and unique discovery
               into newly accused products and sales is needed in this case.

       32.     The Court stayed the February 2021 Delaware Action on September 3, 2021,

pending the ex parte reexaminations pending for the ’535 patent and the ’465 patent. See C.A. No.

21-295 (D. Del.), D.I. 23.

       33.     As explained above, on September 28, 2021, upon issuance of the ’872 patent to

Ramot, Cisco and Acacia filed a declaratory judgment complaint against Ramot in this District,

seeking a declaration that certain of Cisco’s and Acacia’s optical transceiver modules, components

thereof, and networking equipment incorporating such modules did not infringe the ’872 patent.

See C.A. No. 21-1365 (D. Del.), D.I. 1 (the “September 2021 Delaware Declaratory Judgment

Action”).




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       34.     On February 7, 2022, in the September 2021 Delaware Declaratory Judgment

Action, Ramot filed its Answer and Counterclaim for Patent Infringement. See C.A. No. 21-1365

(D. Del.), D.I. 8. As summarized above and detailed further below, in its counterclaim, Ramot

alleged that numerous of Cisco’s and Acacia’s optical transceiver modules, components therefor,

and networking equipment incorporating such modules (e.g., line cards) infringed the ’872

patent—including all of the accused products identified in Cisco’s and Acacia’s earlier Complaint

for Declaratory Judgment in that action. See, e.g., id. at ¶ 114 (discussing “Acacia Accused

Products”); ¶¶ 129, 130-131 (discussing “Cisco Accused Products”); id. at ¶ 135 (discussing the

“’872 Accused Products”). The September 2021 Delaware Declaratory Judgment Action remains

pending and active in this District.

                                 JURISDICTION AND VENUE

                                   Subject-Matter Jurisdiction

       35.     This action arises under the patent laws of the United States, 35 U.S.C. § 1 et seq.

This Court has subject-matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1338(a).

Additionally, this Court has subject-matter jurisdiction over Cisco’s and Acacia’s request for

declaratory relief under 28 U.S.C. §§ 2201 and 2202.

       36.     An actual controversy exists between Ramot, on the one hand, and Cisco and Acacia,

on the other, as to whether Cisco and Acacia directly infringe the ’998 patent under 35 U.S.C.

§ 271(a). This controversy includes the question of whether Cisco and Acacia directly infringe the

’998 patent by making, using, offering for sale, selling, and/or importing products that Ramot

previously alleged infringe related patents in the “Linearized Optical Digital-to-Analog Modulator”

family, i.e., the ’535 patent, the ’465 patent, the ’866 patent, and the ’872 patent.

       37.     The products at issue include (a) networking equipment including line cards and

optical transceiver modules; (b) the optical network transceiver modules themselves, including


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coherent optical transceiver modules; and (c) components of optical transceiver modules and

associated circuitry and software, such as digital signal processing application specific integrated

circuits and silicon photonic integrated circuits (the “Accused Products”).

       38.     The Accused Products include (a) Acacia’s and/or Acacia’s AC1200 products,

AC400 products, CIM8 pluggable modules, and 100G, 200G, and 400G pluggable modules in a

variety of standard form factors such as CFP-DCO, CFP2-DCO, CFP2-ACO, OSFP, and QSFP-

DD, as well as “BiDi” modules that communicate at or above 100 Gbps and “single lambda”

modules that communicate according to the 100G-FR, 100G-LR, and/or 400G-FR technical

specifications; (b) components of these modules, i.e., Acacia’s digital signal processing (“DSP”)

application specific integrated circuits (“ASICs”) and “Silicon Photonic integrated circuits”; and

(c) Cisco’s networking equipment, including e.g. line cards and routers, incorporating optical

transceiver modules, embedded coherent transceivers, and/or embedded DSP circuitry and slots

for pluggable optics.

       39.     As shown below, there is a substantial controversy over Cisco’s and Acacia’s

purported direct infringement, between parties having adverse legal interests, of sufficient

immediacy and reality to warrant the issuance of a declaratory judgment. This controversy exists

based on Ramot’s prior assertions of related patents in the “Linearized Optical Digital-to-Analog

Modulator” family in previous litigation against the Accused Products of Cisco and Acacia.

       40.     For example, in the February 2021 Delaware Action that Ramot filed in this District

six months ago, it accused Acacia of directly infringing at least claim 2 of the ’535 patent and at

least claim 13 of the ’465 patent, both of which are related patents to the ’998 patent belonging to

the same “Linearized Optical Digital-to-Analog Modulator” patent family. Ramot alleged that direct

infringement occurred through Acacia’s “making, using, offering for sale, selling and importing




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optical networking transceiver modules and components thereof...including, without limitation

certain of Acacia’s various coherent optical modules and associated circuitry and software.” C.A.

No. 21-295 (D. Del.), D.I. 1 (Complaint) at ¶¶ 3, 49, 63.

       41.     The categories of accused products in the February 2021 Delaware Action included

(a) “Acacia’s coherent optical transceiver modules includ[ing] embedded modules such as the

AC1200 and AC400 products, as well as 100G, 200G, and 400G pluggable modules in a variety

of standard form factors such as CFP-DCO, CFP2-DCO, CFP2-ACO, OSFP, and QSFP-DD”; and

(b) “multiple generations of [Acacia’s] DSP ASICs and Silicon Photonic ICs” that are components

of the coherent optical transceiver modules. Id. at ¶¶ 21-23; see generally ¶¶ 21-39 (discussing the

various accused “infringing coherent optical transceiver modules and DSP ASIC and Silicon

Photonic IC components thereof”).

       42.     As another example, in the 2019 Texas Action, Ramot accused Cisco of directly

infringing claims 1 and 2 of the related ’535 patent); claims 7, 8, 10-12, 19, 20, and 22-24 of the

related ’866 patent); and claims 1, 2, 4 and 5 of the related ’465 patent. Ramot alleged that such

direct infringement occurred through Cisco’s “making, using, offering for sale, selling, and

importing networking equipment with corresponding line cards and optical transceiver modules

providing advanced electro-optical modulation techniques—including, without limitation, certain

of Cisco’s various 100G, 200G and 400G optical modules and associated circuitry and software.”

C.A. No. 2:19-cv-225-JRG (E.D. Tex.), D.I. 48 (First Amended Complaint) at ¶¶ 2, 33, 40, 48, 61,

66.

       43.     The accused products in the 2019 Texas Action include “100, 200, and 400 Gbps

pluggable CFP2 modules; 100, 200, and 400 Gbps QSFP56 and QSFP-DD modules, including

modules that operate at speeds at or about 50 Gbps per optical or electrical lane; ‘BiDi’ modules




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that communicate at or above 100 Gbps, including 100G BiDi and 400G BiDi products; modules

that communicate according to the 100G-FR, 100G-LR, and 400G-FR4 Technical Specifications;

and other modules that include similar functionality.” Id. at ¶ 30.

       44.     As another example, in its counterclaim in the September 2021 Delaware

Declaratory Judgment Action—a counterclaim filed less than three months ago—Ramot alleged

that numerous of Cisco’s and Acacia’s optical transceiver modules, components thereof, and

networking equipment incorporating such modules (e.g., line cards) infringed claims 1 and 15 of

the ’872 patent, the immediate parent of the ’998 patent at issue in this Complaint for Declaratory

Judgment. See C.A. No. 21-1365 (D. Del.), D.I. 8 (Answer and Counterclaims for Patent

Infringement) at ¶ 135.

       45.     In the counterclaim, Ramot identified the “Acacia Accused Products” as “Acacia’s

infringing coherent optical transceiver modules (and DSP ASIC and Silicon Photonic IC

components thereof”)…[that] support advanced mapping and modulation techniques according to

the Asserted [’872] Patent—including without limitation digital mapping to provide digital pre-

equalization, pre-distortion, shaping, and non-linearity compensation.” Id. at ¶ 114. These “Acacia

Accused Products include, but are not limited to: 100, 200, and 400 Gbps pluggable CFP-DCO

and CFP2-DCO modules; 1.2T (AC1200) and 400G (AC400) embedded modules; CIM8

pluggable modules; 400 Gbps OSFP and QSFP-DD pluggable modules that operate relative to

400ZR or OpenZR+ industry implementation agreements; and 100G QSFP-DD pluggable

modules.” Id. at ¶ 115. The “Acacia Accused Products” also include (a) “Acacia’s CFP-ACO

modules to the extent they are used with an Acacia DSP ASIC on a linecard” and (b) designs “that

implement one of Acacia’s Denali, Meru, Pico, Greylock, or Jannu DSP ASICs coupled together

with one of Acacia’s Silicon Photonic ICs.” Id.




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       46.    In the counterclaim, Ramot also identified the following as the “Cisco Accused

Products”:

              a.     “Cisco’s    infringing   transceiver   modules   and   associated   DSP

functionality”…[that] support advanced mapping and modulation techniques, including without

limitation Quadrature Modulation (e.g., 16-QAM) and Pulse Amplitude Modulation (e.g.,

PAM4).” This includes “100, 200, and 400 Gbps pluggable coherent modules, including CFP2-

ACO and CFP2-DCO modules, and QSFP-DD or OSFP format 400G ZR modules; 100 Gbps and

higher-speed embedded coherent modules; 100, 200, and 400 Gbps QSFP28, QSFP56 and QSFP-

DD pluggable modules, including modules that operate at speeds at or above 50 Gbps per optical

or electrical lane; ‘BiDi’ modules that communicate at or above 100 Gbps, including 100G BiDi

or 400G BiDi products; [and] 100G ‘single lambda’ modules that communicate according to the

100G-FR, 100G-LR, 400G-FR..Technical Specifications.” Id. at ¶ 129.

              b.     “CFP2-ACO pluggable transceivers (e.g., ONS-CFP2-WDM); CFP2-DCO

pluggable transceivers (e.g., CFP2-WDM-DETS-1HL, CFP2-WDM-DS-1HL, CFP2-LIC-UPG-

200G); 400G ZR coherent pluggable transceivers (e.g., QDD-400G-ZR-S, QDD-400G-ZRP-S);

Single-lambda CPAK transceivers, e.g., CPAK-100G-FR; 40/100G ‘BiDi’ transceivers, e.g., QSFP-

40/100G-SRBD; 100G single-lambda QSFP transceivers (e.g., QSFP-100G-DR-S, QSFP-100G-

FR-S, QSFP-100G-LR-S, QSFP-100G-ELR-S); and 400G pluggable QDFP56 or QSFP-DD

transceiver modules (e.g., QDD-400G-DR4-S, QDD-400G-FR4-S, QDD-400G-LR4-S, QDD-

400G-LR8-S, QDD-4x100G-FR-S, QDD-4x100G-LR-S, QDD-400-AOCxM).” Id. at ¶ 130.

              c.     “Cisco’s numerous line cards and systems with embedded coherent

transceivers, such as the Cisco NCS 2000 200-Gbps Multirate DWDM Line Card (e.g., NCS2K-

200G-CK-C=), the NCS1004 system, C-Band 1.2T Transponder Line Card, L-Band Transponder




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Line Card, and 800G QSFP-DD Transponder Line Card (e.g., NCS1K4-1.2T-K9=, NCS1K4-1.2T-

K9=, NCS1K4-2-QDD-C-K9=).” Id. at ¶ 131; and

               d.     “Cisco’s numerous line cards and systems with embedded DSP circuitry and

slots for pluggable optics such as CFP2-ACO transceivers, such as the NCS 1002 system (e.g.,

NCS1002-K9=); Cisco NCS 2000 series, 400 Gbps XPonder Card (e.g., NCS2K-400G-XP=), the

NCS 4000 series, 400 Gbps DWDM/OTN/Packet Universal Line Card (e.g., NCS4K-4H-OPW-

QC2=), the Cisco NCS 5500 series, 1.2-Tbps IPoDWDM Modular Line Card (e.g., NC55-6x200-

DWDM-S), or the Cisco 9000 Series Routers, 400G and 200G Modular Line Cards (e.g. A9K-

MOD400-SE line card with A9K-MPA-2X100GE modular port adaptor).” Id. at ¶ 132.

       47.     All of the Cisco and Acacia products identified in paragraphs 37 through 46 above

are encompassed within the definition of Accused Products for purposes of this declaratory

judgment complaint.

       48.     Furthermore, an actual controversy exists between Ramot, on the one hand, and

Cisco and Acacia, on the other, as to whether Cisco and Acacia indirectly infringe the ’998 patent

under 35 U.S.C. §§ 271(b) and/or (c). This controversy includes a dispute as to whether Cisco’s

and Acacia’s, inter alia, blog posts, presentations, whitepapers, videos, customer instructions,

and/or design contributions with respect to the Accused Products constitute encouragement with a

specific intent to induce infringement within the meaning of 35 U.S.C. § 271(b). This actual

controversy also includes a dispute as to whether Cisco and Acacia make, use, sell, offer for sale,

or import coherent optical transceiver modules or components thereof (such as DSP ASICs and

Silicon Photonic ICs) knowing that these products constitute a material part of the claimed

invention, are especially made or adapted for use in infringing the ’998 patent, and are not staple




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articles or commodities of commerce capable of substantial noninfringing uses, such that

contributory infringement occurs within the meaning of 35 U.S.C. § 271(c).

       49.     As shown below, there is a substantial controversy over Cisco’s and Acacia’s

purported indirect infringement, between parties having adverse legal interests, of sufficient

immediacy and reality to warrant the issuance of a declaratory judgment. This controversy exists

based on Ramot’s prior assertions of related patents in the “Linearized Optical Digital-to-Analog

Modulator” family in previous litigation against Cisco and Acacia.

       50.     For example, in the February 2021 Delaware Action, Ramot accused Acacia of

inducing infringement under 35 U.S.C. § 271(b) of the related ’535 patent and ’465 patent through

inter alia “contributing to its customer’s designs” and publishing “Blog posts, Presentations,

Whitepapers, and Videos” concerning the Accused Products. C.A. No. 21-295 (D. Del.), D.I. 1

(Complaint) at ¶¶ 38, 51, 65; see also id. at ¶¶ 24-39 (identifying specific blog posts, presentations,

whitepapers, and videos).

       51.     In the February 2021 Delaware Action, Ramot also accused Acacia of contributory

infringement under 35 U.S.C. § 271(c) of the ’535 patent and the ’465 patent through the making,

using, selling, offering for sale, and importing the “’535 Accused Products” and the “’465 Accused

Products” based on the allegation that Acacia knew “that those products constitute a material part

of the claimed invention, that they are especially made or adapted for use in infringing the . . .

Patent, and that they are not staple articles or commodities of commerce capable of substantial

non-infringing use.” Id. at ¶¶ 52, 66.

       52.     As a second example, in the 2019 Texas Action, Ramot accused Cisco of inducing

infringement under 35 U.S.C. § 271(b) of the related ’535 patent, the ’866 patent, and the ’465

patent through inter alia “instruct[ing] its customers on how to use and implement the technology




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claimed” in the asserted patents via product datasheets, brochures, and product briefs. C.A. No.

2:19-cv-225-JRG (E.D. Tex.), D.I. 48 (First Amended Complaint) at ¶¶ 42, 55, 68.

       53.     In the 2019 Texas Action, Ramot also accused Cisco of contributory infringement

under 35 U.S.C. § 271(c) of the ’535 patent, the ’866 patent, and the ’465 patent through the

making, using, selling, offering for sale, and importation of the “’535 Accused Products,” the “’866

Accused Products,” and the “’465 Accused Products” based on the allegation that Cisco knew

“that those products constitute a material part of the claimed invention, that they are especially

made or adapted for use in infringing the...Patent, and that they are not staple articles or

commodities of commerce capable of substantial non-infringing use.” Id. at ¶¶ 43, 56, 69.

       54.     As a third (and final) example, in its counterclaim in the September 2021 Delaware

Declaratory Judgment Action, Ramot accused Cisco and Acacia of inducing infringement under

35 U.S.C. § 271(b) of the related ’872 patent, through inter alia “encourag[ing] and instruct[ing]

their customers on how to use and implement the technology claimed in the ’872 patent” through

“the website postings, Blog posts, Presentations, Whitepapers, and Videos discussed” in Ramot’s

counterclaim. C.A. No. 21-1365 (D. Del.), D.I. 8 (Answer and Counterclaims for Patent

Infringement) at ¶ 156.

       55.     In the counterclaim in the September 2021 Delaware Declaratory Judgment Action,

Ramot also accused Cisco and Acacia of contributory infringement under 35 U.S.C. § 271(c) of

the ’872 patent through the making, using, selling, offering for sale, and importation of the “’872

Accused Products” based on the allegation that Cisco and Acacia knew “that those products

constitute a material part of the claimed invention, that they are especially made or adapted for use

in infringing the ’872 Patent, and that they are not staple articles or commodities of commerce

capable of substantial non-infringing use.” Id. at ¶ 157.




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          56.   Cisco’s and Acacia’s reasonable belief that Ramot will charge them with infringing

one or more claims of the ’872 patent, both directly and indirectly, is further supported by Ramot’s

history of asserting related patents in this same “Linearized Optical Digital-to-Analog Modulator”

family against Cisco and Acacia.

          57.   For instance, as summarized above, when the ’998 patent’s immediate parent (the

’872 patent) issued and became the basis of Cisco’s and Acacia’s September 2021 Delaware

Declaratory Judgment Action, Ramot filed a counterclaim charging all of the products at issue in

Cisco’s and Acacia’s declaratory judgment claim with direct and indirect infringement of the ’872

patent.     See C.A. No. 21-1365 (D. Del.), D.I. 8 (Answer and Counterclaims for Patent

Infringement) at ¶¶ 78-157.

          58.   Likewise, when the ’872 patent’s own parent (the ’866 patent) issued during the

course of Ramot’s 2019 Texas Action against Cisco, Ramot amended its complaint within two

months, on October 29, 2019, to charge Cisco with direct and indirect infringement of the ’866

patent. See C.A. No. 2:19-cv-225-JRG (E.D. Tex.), D.I. 48 (First Amended Complaint) at ¶¶ 60-

72.

          59.   As another example of Ramot’s repeated litigation of patents in the same family

against Cisco and/or Acacia, on November 5, 2014, Ramot sued Cisco in the Eastern District of

Texas, alleging that Cisco’s “100G” networking-equipment products infringed U.S. Patent No.

8,044,835 (the “’835 patent”) and U.S. Patent No. 8,797,198 (the “’198 patent”). See Ramot at

Tel Aviv University Ltd. v. Cisco Systems, Inc., C.A. No. 2:14-cv-1018-JRG (E.D. Tex.), D.I. 1

(Complaint) (hereinafter, the “2014 Action”). Ramot voluntarily dismissed the 2014 Action

without prejudice approximately three months later, on February 24, 2015. See C.A. No. 2:14-cv-

1018-JRG (E.D. Tex.), D.I. 16 (Notice of Voluntary Dismissal Without Prejudice).




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       60.     The ’835 patent and ’198 patent asserted in the 2014 Action belong to the same

patent family as the ’998 patent at issue in this Complaint for Declaratory Judgment; the three

related patents asserted in the 2019 Texas Action and the February 2021 Delaware Action; and the

’872 patent at issue in the September 2021 Delaware Declaratory Judgment Action.

       61.     Moreover, to support its claim for willful infringement in the 2019 Texas Action,

Ramot alleged that because Cisco had been charged with infringement of related patents in the

2014 Action—i.e., the ’835 patent and the ’198 patent—Cisco was “aware” its activities also

allegedly infringed the child patents in the same family. See, e.g., C.A. No. 2:19-cv-225-JRG

(E.D. Tex.), D.I. 48 (First Amended Complaint) at ¶ 70 (“On information and belief, Cisco was

aware of the ’866 Patent and related Ramot patents, had knowledge of the infringing nature of its

activities, and nevertheless continues its infringing activities. For example, on November 5, 2014,

Ramot sued Cisco for infringement of two parent patents of the ’866 patent.”).

       62.     Similarly, in its counterclaim in the September 2021 Delaware Declaratory

Judgment Action, Ramot alleged that Cisco and Acacia allegedly willfully infringed the ’872

patent because of the Ramot’s prior lawsuits against the two companies over “related Ramot

patents.” Ramot specifically pointed to:

               a.     the 2014 Action against Cisco. See C.A. No. 21-1365 (D. Del.), D.I. 8

(Answer and Counterclaims for Patent Infringement) at ¶ 161 (“In addition, on November 5, 2014,

Ramot sued Cisco for infringement of two related predecessor patents of the ’872 patent.”);

               b.     the 2019 Texas Action against Cisco. See id. at ¶ 158 (“For example, on

June 12, 2019, Ramot sued Acacia customer Cisco for infringement of related Ramot patents. See

Ramot at Tel Aviv University Ltd. v. Cisco Systems, Inc., Case No. 2:19-cv-00225-JRG (E.D. Tex.),

D.I. 1. Acacia participated in that lawsuit as a third party under subpoena.”); and




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               c.      the February 2021 Delaware Action against Acacia. See id. (“In addition,

on February 26, 2021, Ramot sued Acacia for infringement of related Ramot patents”);

       63.     The fact that Ramot sued Cisco on related patents in the 2014 Texas Action and the

2019 Texas Action, sued Acacia on “related Ramot patents” in the February 2021 Delaware Action,

and alleged infringement by both Cisco and Acacia of the ’998 patent’s immediate parent (the ’872

patent) in the September 2021 Delaware Declaratory Judgment Action gives Cisco and Acacia

reason to believe that Ramot also will claim that Cisco’s and Acacia’s activities with respect to the

Accused Products infringe one or more claims of the ’998 patent at issue here.

                                      Personal Jurisdiction

       64.     Ramot is subject to specific personal jurisdiction in this District because of (a) its

filing of the related February 2021 Delaware Action in this District, see Ramot at Tel Aviv Univ.,

Ltd. v. Acacia Comm’ns Inc., C.A. No. 21-295 (D. Del.), D.I. 1 (Complaint), and/or (b) its filing

of a patent-infringement counterclaim in the related September 2021 Delaware Declaratory

Judgment Action, see Cisco Systems, Inc. & Acacia Comm’ns, Inc. v. Ramot at Tel Aviv Univ. Ltd.,

C.A. No. 21-1365 (D. Del.), D.I. 8 (Answer and Counterclaims for Patent Infringement). By

bringing these claims in Delaware, Ramot consented to personal jurisdiction in the State of

Delaware.

       65.     By filing the February 2021 Delaware Action and its counterclaim in the September

2021 Delaware Declaratory Judgment Action, Ramot also subjected itself to specific personal

jurisdiction in this District by transacting business in Delaware within the meaning of Delaware’s

Long-Arm Statute, 10 Del. C. § 3104(c)(1).

       66.     In the alternative, and as additional support for personal jurisdiction over Ramot in

Delaware, personal jurisdiction can be established through service of summons or waiver of

service of summons under Fed. R. Civ. P. 4(k)(2). Ramot alleges that it is an Israeli company


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headquartered in Israel. Ramot has never alleged any presence or activity in any state in the United

States, nor do public records and public searches indicate any such presence or activity in any state

in the United States, with the exception of Ramot’s assertion, licensing, and litigation campaigns

over the “Linearized Optical Digital-to-Analog Modulator” patent family, including Ramot’s prior

2014 Texas Action against Cisco, its 2019 Texas Action against Cisco, its February 2021 Delaware

Action against Acacia, and its counterclaim against Cisco and Acacia in the September 2021

Delaware Declaratory Judgment Action. On information and belief, based on the foregoing facts,

Ramot is not amenable to personal jurisdiction in any state’s court of general jurisdiction, but does

have sufficient minimal contacts with the United States as a whole. Accordingly, Fed. R. Civ. P.

4(k)(2) provides an additional basis for the exercise of personal jurisdiction over Ramot with

respect to Cisco’s and Acacia’s claim for declaratory relief.

                                               Venue

       67.     Venue is proper in this District pursuant to 28 U.S.C. § 1391.

                                   CLAIM FOR RELIEF
                      Declaration of Noninfringement of the ’998 Patent

       68.     Plaintiffs Cisco and Acacia restate and incorporate each of the allegations of

paragraphs 1-67 above as if fully set forth herein.

       69.     Defendant Ramot purports to be the owner all rights, title, and interests in the ’998

patent, including the right to enforce the ’998 patent.

       70.     Cisco does not infringe and has not infringed—directly, contributorily, or by

inducement—any claim of the ’998 patent by manufacturing, using, selling, offering for sale, or

importing any of the Accused Products at issue in this action.




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       71.     Acacia does not infringe and has not infringed—directly, contributorily, or by

inducement—any claim of the ’998 patent by manufacturing, using, selling, offering for sale, or

importing any of the Accused Products at issue in this action.

       72.     The Accused Products include products that are analog-driven, i.e., which use a

digital signal processor having a digital-to-analog converter at its output. These analog-driven

products include Acacia’s and Cisco’s AC1200 products, AC400 products, CIM8 pluggable

modules, and 100G, 200G, and 400G pluggable modules in a variety of standard form factors such

as CFP-DCO, CFP2-DCO, CFP2-ACO, OSFP, and QSFP-DD; “BiDi” modules that communicate

at or above 100 Gbps; “single lambda” modules that communicate according to the 100G-FR,

100G-LR and/or 400G-FR technical specifications; components of these modules, i.e., Acacia’s

and Cisco’s DSP ASICs and Silicon Photonic ICs; and Cisco’s networking equipment (including

e.g. line cards and routers), incorporating such modules or components, including networking

equipment incorporating optical transceiver modules, embedded coherent transceivers, and/or

embedded DSP circuitry and slots for pluggable optics.

       73.     The analog-driven Accused Products do not infringe any issued claims of the ’998

patent because none of the issued claims of the ’998 patent—including all five independent claims,

i.e. issued claims 1, 16, 32, 45, and 58—cover systems or methods that use analog-driven

modulators, i.e., a modulator that is driven with analog drive voltage signals.

       74.     Moreover, the analog-driven Accused Products do not infringe issued claim 1 of

the ’998 patent, a system claim, and all claims depending therefrom, because, as analog-driven

devices, they do not include at least the following limitations as required by the claims: (a) “a

modulator for modulating the input optical signal responsively to the plurality of N digital input

data bits to output a modulation of the input optical signal, thereby generating one or more




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modulated optical signal outputs for transmission over one or more optical fibers”; (b) “wherein a

digital-to-digital mapping maps the plurality of N digital input bits to a set of M digital output data

bits associated with a plurality of voltage values;” and (c) “wherein the input optical signal is

modulated based on the plurality of voltage values.”

       75.     The analog-driven Accused Products do not infringe issued claim 16 of the ’998

patent, a system claim, and all claims depending therefrom, because, as analog-driven devices,

they do not include at least the following limitations as required by the claims: (a) “a modulator

for modulating the input optical signal responsively to the plurality of N digital input data bits to

output a modulation of the input optical signal, thereby generating one or more modulated optical

signal outputs for transmission over one or more optical fibers”; (b) “wherein a digital-to-digital

mapping maps the plurality of N digital input bits to M digital output data bits associated with a

plurality of voltage values;” and (c) “wherein the input optical signal is modulated based on the

plurality of voltage values.”

       76.     The analog-driven Accused Products do not infringe issued claim 32 of the ’998

patent, a system claim, and all claims depending therefrom, because, as analog-driven devices,

they do not include at least the following limitations as required by the claims: (a) “wherein the N

bits of the N bit digital input data word are mapped to a series of M output bits corresponding to a

set of voltage values”; (b) “wherein the input digital data word is one from a set of 2N input data

words, the M output bits are from a set of 2M M output bits, wherein each M output bits in the set

of 2M M output bits corresponds to a different set of voltage values”; and (c) “wherein the input

optical signal received by each of the waveguide branches of the modulator is modulated based on

at least a subset of the set of voltage values to generate a corresponding modulated optical signal.”




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       77.     The analog-driven Accused Products do not infringe issued claim 45 of the ’998

patent, a system claim, and all claims depending therefrom, because, as analog-driven devices,

they do not include at least the following limitations as required by the claims: (a) “wherein the N

bits of the N bit digital input data word are mapped to a series of M output bits corresponding to a

set of voltage values”; (b) “wherein the input digital data word is one from a set of 2N input data

words, the set of M output bits are each from a set of 2M M output bits, wherein each M output bits

in the set of 2M M output bits corresponds to a different set of voltage values”; and (c) “wherein

each of the optical signal output generated by the electro-absorption signal generation device is

modulated based on at least a subset of the set of voltage values to generate a corresponding

modulated optical signal.”

       78.     The analog-driven Accused Products do not infringe issued claim 58 of the ’998

patent, a system claim, and all claims depending therefrom, because, as analog-driven devices,

they do not include at least the following limitations as required by the claims: (a) “wherein a

digital-to-digital mapping maps the plurality of N digital input data bits to M digital output data

bits”; (b) “wherein the digital-to-digital mapping comprises, for each digital input value included

in a set of possible digital input values for the plurality of N digital input data bits, a set of M

corresponding digital output values from a set of possible digital output values”; and (c) “wherein

the optical modulation system further comprises a modulator for modulating the input optical

signal responsively to the M digital output data bits, to output a modification of the input optical

signal, thereby generating one or more modulated optical signal outputs for transmission over one

or more optical fibers.”

       79.     The Accused Products also include products that are digitally-driven. These

digitally-driven products include digitally-driven versions of Cisco’s 100G, 200G, and 400G




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optical modules, including versions of the QSFP-100G-DR-S, QSFP-100G-FR-S, QSFP-100G-

LR-S, and QSFP-100G-ERL-S products.

          80.   The digitally-driven Accused Products do not infringe any issued claims of the ’998

patent because they lack each of the limitations of the five independent claims identified as missing

above in the analog-driven Accused Products.

          81.   The digitally-driven Accused Products also do not infringe any issued claims of the

’998 patent because they do not meet the “digital-to-digital mapping” and “mapp[ing]” limitations

recited in each of the five independent claims. For instance, each of Cisco’s digitally-driven

Accused Products use coding changes (e.g., gray coding with thermometer coding) that do not

perform the necessary “digital-to-digital mapping” and “mapp[ing]” recited in the independent

claims.

          82.   In addition, the digitally-driven Accused Products also do not infringe issued claim

1 of the ’998 patent, a system claim, and all claims depending therefrom, because the products’

use of gray coding and thermometer coding does not meet the limitations relating to successively

increasing and/or decreasing “deltas,” i.e., (a) “wherein, within the digital-to-digital mapping, for

a first subset of successively increasing digital input values specified in the digital-to-digital

mapping, deltas between numerical values of successive digital outputs in the set of digital output

values corresponding respectively to successively increasing digital input values in the first subset,

decrease” and (b) “wherein, within the digital-to-digital mapping, for a second subset of

successively increasing digital input values specified in the digital-to-digital mapping, deltas

between numerical values of successive digital outputs in the set of digital output values

corresponding respectively to the successively increasing digital input values in the second subset,

increase.”




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       83.     The digitally-driven Accused Products also do not infringe issued claim 16 of the

’998 patent, a system claim, and all claims depending therefrom, because the products’ use of gray

coding and thermometer coding does not meet the limitations relating to successively increasing

and/or decreasing “deltas,” i.e., (a) “wherein, within the digital-to-digital mapping, for a first

subset of successively decreasing digital input values specified in the digital-to-digital mapping,

deltas between numerical values of successive digital outputs in the set of digital output values

corresponding respectively to successively decreasing digital input values in the first subset,

decrease” and (b) “wherein, within the digital-to-digital mapping, for a second subset of

successively decreasing digital input values specified in the digital-to-digital mapping, deltas

between numerical values of successive digital outputs in the set of digital output values

corresponding respectively to the successively decreasing digital input values in the second subset,

increase.”

       84.     The digitally-driven Accused Products also do not infringe issued claim 58 of the

’998 patent, a system claim, and all claims depending therefrom, because the products’ use of gray

coding and thermometer coding does not meet the limitations relating to successively increasing

and/or decreasing “deltas,” i.e., (a) “wherein, within the digital-to-digital mapping, for a first

subset of successively increasing digital input values specified in the digital-to-digital mapping,

deltas between numerical values of successive digital outputs in the set of digital output values

corresponding respectively to successively increasing digital input values in the first subset,

decrease” and (b) “wherein, within the digital-to-digital mapping, for a second subset of

successively increasing digital input values specified in the digital-to-digital mapping, deltas

between numerical values of successive digital outputs in the set of digital output values




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corresponding respectively to the successively increasing digital input values in the second subset,

increase.”

       85.     Cisco and Acacia do not induce infringement within the meaning of 35 U.S.C.

§ 271(b). None of their blog posts, presentations, whitepapers, videos, customer instructions,

and/or design contributions with respect to the analog-driven or digitally-driven Accused

Products—including those identified by Ramot in the 2019 Texas Action, the February 2021

Delaware Action, or the September 2021 Delaware Declaratory Judgment Action, as referenced

above—encourage any individual or entity to directly infringe any claim of the ’998 patent. Nor

do Cisco or Acacia have the requisite specific intent to induce infringement.

       86.     Cisco and Acacia do not contributorily infringe within the meaning of 35 U.S.C.

§ 271(c). Cisco and Acacia do not make, use, sell, offer for sale, or import the analog-driven or

digitally-driven Accused Products or components thereof (such as DSP ASICs and Silicon

Photonic ICs) knowing that these products constitute a material part of the claimed invention, are

especially made or adapted for use in infringing the ’998 patent, and are not staple articles or

commodities of commerce capable of substantial noninfringing uses.

       87.     Cisco and Acacia seek and are entitled to a declaration that they do not infringe,

directly or indirectly, any claim of the ’998 patent under the patent laws of the United States, 35

U.S.C. § 1 et seq.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs Cisco and Acacia respectfully request and pray that this Court:

       a.      Find and declare that Cisco and Acacia do not infringe and have not infringed, in

               any manner, directly or indirectly, any claim of the ’998 patent under the patent

               laws of the United States, 35 U.S.C. § 1 et seq.;

       b.     Award Cisco and Acacia all of its costs of this action;


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       c.     To the extent that Cisco and/or Acacia is the prevailing party, find that this is an

              exceptional case and award Cisco and Acacia its attorneys’ fees pursuant to 35

              U.S.C. § 285 and all other applicable statues, rules, and common law; and

       d.      Grant Cisco and Acacia such other and further relief as the Court deems just and

              proper under the circumstances.



                                        JURY DEMAND

       Plaintiffs Cisco and Acacia demand a trial by jury on all issues so triable.



                                                MORRIS, NICHOLS, ARSHT & TUNNELL LLP

                                                /s/ Jennifer Ying
 OF COUNSEL:
                                                Jack B. Blumenfeld (#1014)
 L. Norwood Jameson                             Jennifer Ying (#5550)
 Matthew C. Gaudet                              1201 North Market Street
 Matthew S. Yungwirth                           P.O. Box 1347
 John R. Gibson                                 Wilmington, DE 19899
 Sajid Saleem                                   (302) 658-9200
 DUANE MORRIS LLP                               jblumenfeld@morrisnichols.com
 1075 Peachtree Street NE, Suite 2000           jying@morrisnichols.com
 Atlanta, GA 30309-3939
 (404) 253-6900                                 Attorneys for Plaintiffs

 Joseph A. Powers
 Aleksander J. Goranin
 DUANE MORRIS LLP
 30 S. 17th Street
 Philadelphia, PA 19103-4196
 (215) 979-1000

 Gilbert A. Greene
 DUANE MORRIS LLP
 Las Cimas IV
 900 S. Capital of Texas Hwy., Suite 300
 Austin, TX 78746-5435
 (512) 277-2300



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 Holly Engelmann
 DUANE MORRIS LLP
 100 Crescent Court, Suite 1200
 Dallas, TX 75201
 (214) 257-7226

 May 24, 2022




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